                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1-10-CR-34-CLC-WBC-5
v.                                                    )
                                                      )
STEVEN DANTE HICKEY                                   )
                                                      )

                                 MEMORANDUM AND ORDER

       STEVEN DANTE HICKEY (“Supervised Releasee”) appeared for a hearing before the
undersigned on September 29, 2015, in accordance with Rule 32.1 of the Federal Rules of Criminal
Procedure on the Petition for a Warrant or Summons for an Offender Under Supervision (“Petition”).
Those present for the hearing included:

               (1)     An Assistant United States Attorney for the Government;
               (2)     Supervised Releasee; and
               (3)     An Attorney with Federal Defender Services of Eastern
                       Tennessee (“FDS”) for the Supervised Releasee.

        After being sworn in due form of law, Supervised Releasee was informed or reminded of his
privilege against self-incrimination accorded him under the Fifth Amendment to the United States
Constitution. It was determined that Supervised Releasee wished to be represented by an attorney
and he qualified for appointed counsel. FDS was appointed to represent Supervised Releasee. It was
also determined that Supervised Releasee had been provided with and reviewed with counsel a copy
of the Petition.

         The Government moved that Supervised Releasee be detained without bail pending his
revocation hearing before U.S. District Judge Curtis L. Collier. Supervised Releasee waived his right
to a preliminary hearing, but requested a detention hearing, which was held. Supervised Releasee
proceeded by making a proffer concerning employment. U.S. Probation Officer Cornell Mitchell
testified regarding the factual allegations set forth in the Petition and related matters. Both parties
presented their respective arguments, which were fully considered by the Court.

                                              Findings

       (1)     Based upon the petition and supervised releasee’s waiver of
               preliminary hearing, the undersigned finds there is probable cause to
               believe Supervised Releasee has committed a violation or violations
               of his conditions of supervised release as alleged in the Petition.

       (2)     Supervised Releasee has not carried his burden of demonstrating by
               clear and convincing evidence that, if released, he would not pose a



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             danger to another person or to the community or pose a risk of flight
             under Fed. R. Crim. P. 32.1(a)(6).

                                         Conclusions

      It is ORDERED:

      (1) Supervised Releasee shall appear for a revocation hearing before U.S. District
      Judge Collier.

      (2) The Government’s motion that supervised releasee be DETAINED WITHOUT
      BAIL pending his revocation hearing before Judge Collier is GRANTED.

      (3) The U.S. Marshal shall transport Supervised Releasee to a revocation hearing
      before Judge Collier on Thursday, November 19, 2015 at 2:00 p.m. [EASTERN].

      SO ORDERED.

      ENTER:

                                           s/fâátÇ ^A _xx
                                           SUSAN K. LEE
                                           UNITED STATES MAGISTRATE JUDGE




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